




NO. 07-09-0077-CR

NO. 07-09-0078-CR

NO. 07-09-0079-CR

NO. 07-09-0080-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL D



MARCH 13, 2009



______________________________





SYDNEY LYNN WEEKS,

Appellant



v.



THE STATE OF TEXAS,

Appellee



_________________________________



FROM THE 46
TH
 DISTRICT COURT OF HARDEMAN COUNTY;



NOS. 4088, 4089, 4090, 4091; HON. DAN MIKE BIRD, PRESIDING



_______________________________



On Abatement and Remand

_______________________________



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Pending before the court are the appeals of Sydney Lynn Weeks. &nbsp;The clerk’s record in each case was filed on March 5, 2009. &nbsp;Contained therein is the Trial Court’s Certification of Defendant’s Right of Appeal,
 which was executed on February 17, 2009, after amendments to Rule 25.2(d) of the Texas Rules of Appellate Procedure became effective on September 1, 2007.
 
 The form on file does not comply with the amendments to the rule, which now require that a defendant sign the certification and receive a copy. &nbsp;Additionally, the new form provides certain admonishments to a defendant not previously required.
(footnote: 1) 

Procedural rules generally control litigation from their effective date. &nbsp;
Wilson v. State, 
473 S.W.2d 532, 535 (Tex.Crim.App. 1971). &nbsp;Consequently, we abate these appeals and remand the causes to the trial court for further proceedings. &nbsp;Upon remand, the trial court shall utilize whatever means necessary to determine if appellant desires to continue the appeals and, if so, secure a proper Certification of Defendant’s Right of Appeal in compliance with Rule 25.2(d). &nbsp;Once properly completed and executed, the certification shall be included in a supplemental clerk’s record for each case. &nbsp;
See
 
Tex. R. App. P
. 34.5(c)(2).
 &nbsp;The trial court shall cause these supplemental clerk's records
 to be filed with the Clerk of this Court by April 13, 2009. 
 This order constitutes notice to all parties, pursuant to Rule 37.1 of the Texas Rules of Appellate Procedure, of the defective certification. &nbsp;If supplemental clerk’s records containing a proper certification are not filed in accordance with this order, these matters will be referred to the Court for dismissal. &nbsp;
See 
Tex. R. App. P. 
25.2(d). 

It is so ordered.



Per Curiam

Do not publish.

FOOTNOTES
1:The proper form for Certification of Defendant’s Right of Appeal is contained in Appendix D to the 2008 Texas Rules of Appellate Procedure.




